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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION



   DEVELOPMENTAL TECHNOLOGIES, LLC,
   a Florida limited liability company

                  Plaintiff,                          Case No. 8:18-cv-1582-JDW-TGW

   v.

   MITSUI CHEMICALS, INC., a foreign corporation,
   and MITSUI CHEMICALS AMERICA, INC.
   a foreign corporation,

                  Defendants.
                                                 /

        DEVELOPMENTAL TECHNOLOGIES, LLC AND MITSUI CHEMICALS
            AMERICA, INC.’S STIPULATION SELECTING MEDIATOR

          Pursuant to the Court’s Case Management and Scheduling Order [Dkt. 33], Plaintiff

   Developmental Technologies, LLC, and Defendant, Mitsui Chemicals America, Inc. stipulate

   to the selection of the following mediator:

          1.      James M. Matulis, Esq., of Matulis Law & Mediation, 9806 Gretna Green Dr.,

   Suite 100, Tampa, FL 33626-5300, will serve as the mediator. His office telephone number

   is 813-451-7347.

          2.      Mediation is set for August 23, 2019, starting at 9 a.m., at the offices of

   Michael Musetta & Associates, Inc., 201 N. Franklin St., Suite 3400, Tampa, FL 33602.

   Dated: January 9, 2019                                  By: /s Jesse M. Tilden
                                                           Jesse M. Tilden
                                                           Fla. Bar No. 0550566
                                                           Michael J. Prohidney
                                                           Fla. Bar No. 0905801
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